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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 23-21065-CIV-ALTONAGA/Damian

 JONATHAN CONDE,

        Plaintiff,
 v.

 CDJ OF 152ND ST MIAMI LLC,

       Defendant.
 _______________________________/

                       ORDER REQUIRING SCHEDULING REPORT
                      AND CERTIFICATES OF INTERESTED PARTIES 1

        The parties are directed to prepare and file a joint scheduling report, as required by Local

 Rule 16.1, by May 1, 2023. In addition, by May 1, 2023, the parties, including governmental

 parties, must file certificates of interested parties and corporate disclosure statements that contain

 a complete list of persons, associated persons, firms, partnerships, or corporations that have a

 financial interest in the outcome of this case, including subsidiaries, conglomerates, affiliates,

 parent corporations, and other identifiable legal entities related to a party. Throughout the

 pendency of the action, the parties are under a continuing obligation to amend, correct, and

 update the certificates.

        DONE AND ORDERED in Miami, Florida, this 7th day of April, 2023.



                                                  _______________________________________
                                                  CECILIA M. ALTONAGA
                                                  CHIEF UNITED STATES DISTRICT JUDGE
 cc:    counsel of record




        1
             The parties must not include Chief Judge Altonaga and U.S. Magistrate Judge Damian as
 interested parties unless they have an interest in the litigation.
